              Case 4:18-cv-00002-DN Document 39 Filed 03/14/19 Page 1 of 1




                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    JACOB M. SCOTT, an individual
                                                       JUDGMENT IN A CIVIL CASE
                              Plaintiff,
                                                       Case No. 4:18-cv-00002-DN
            vs.
                                                       District Judge David Nuffer
    WINGATE WILDERNESS THERAPY,
    LLC, a Utah Limited Liability Company,

                              Defendant.


           IT IS HEREBY ORDERED that Plaintiff’s Complaint 1 is DISMISSED WITH

PREJUDICE.

           Signed March 14, 2019

                                                    BY THE COURT


                                                    ________________________________________
                                                    David Nuffer
                                                    United States District Judge




1
    Complaint, docket no. 2, filed March 2, 2018.
